              Case 3:23-cv-00636
9/26/24, 4:01 PM                             Document 134-4       Filed
                                                       Haslam Law Firm LLC09/26/24
                                                                           Mail - Re: HudsonPage
                                                                                            v. Racer, 1  of 2 PageID #: 2168
                                                                                                      et al.



                                                                                               Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Kerry Nessel <nessel@comcast.net>                                                     Thu, Sep 12, 2024 at 12:41 PM
  To: "Stebbins, James C." <jstebbins@flahertylegal.com>
  Cc: "Wendy E. Greve" <wgreve@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>, tyler@haslamlawfirm.com, "Burdette,
  Danica N." <dburdette@flahertylegal.com>

     Thanks for thorough response.

     Sent from my iPhone


             On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com> wrote:




             Hi Kerry:


             I need to look at some things regarding this request and am under a deadline in another matter
             today and I also want to try to reach out to my client about it. I will give you a full response
             tomorrow even if I am unable to reach him. I did not want you to think I was ignoring this
             request since you asked for an answer ASAP.


             Best,


             Jamie



             James C. Stebbins
             Member




             Flaherty
             FLAHERTY SENSABAUGH BONASSO PLLC

             P.O. BOX 3843

             CHARLESTON, WV 25338

             OVERNIGHT:


             200 CAPITOL STREET

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              Case 3:23-cv-00636
9/26/24, 4:01 PM                                                                                                                                                                                                                                                                                                                                                                                               Document 134-4       Filed
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                        et al.
             PHONE: 304.205.6388

             FAX: 304.345.0260




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             From: KERRY NESSEL <nessel@comcast.net>
             Sent: Wednesday, September 11, 2024 2:17 PM
             To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
             <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
             Cc: tyler@haslamlawfirm.com
             Subject: Hudson v. Racer, et al.




                                                                CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.


             Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




             Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal
             affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions.

             As the Court entered and order yesterday extending the deposition deadline to Sept 27 and the recent
             disclosure, we believe our request is reasonable.

             Please let me know ASAP.

             Additionally, considering Racer had been brutally battered by no less than 5 men at a bar and suffered
             significant physical injuries, including a brain bleed and broken orbital bone on his left side, we request his
             medical records concerning the same.

             Further, we are willing to travel to the WVSP academy to conduct this deposition.

             Finally, please provide us dates for your availability to depose Lt. Pile. I assume this will have to take place
             in Chas.

             Thanks.
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